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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

City of Sterling Heights
Police & Fire Retirement System,

Plaintiff,
versus

Civil Action H-11-2537

Owen Kratz, et al.,

MMM MMM MM Lan tm

Defendants.
Order Denying Dismissal

The motion to dismiss voluntarily by the City of Sterling Heights Police & Fire

Retirement System is denied (29).'

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Signed on ch , 2012, at Houston, Texas.

 

Lynn N. Hughes
United States District Judge

 

"Fed R. Civ, P. 23.1(c).

 
